
 1  In Re People  v.  Seymour, Gavin No. 23SA12Supreme Court of ColoradoJanuary 23, 2023
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      ORIGINAL PROCEEDING
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Order
      and Rule to Show Cause issued January 18, 2023
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RULE
      CHANGE
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RULE
      CHANGE 2023(02)
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;COLORADO
      RULES OF JUDICIAL DISCIPLINE Rule 41
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Amended
      and Adopted by the Court, En Banc, January 19, 2023,
      effective immediately.
    
    